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UNITED STATES DISTRICT COURT                                           ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                          DOC #:
                                                                       DATE FILED: 
 DEVITO VERDI, INC.,

                            Plaintiff,

                        -against-                                    1:21-cv-1007-MKV

                                                                  ORDER OF DISMISSAL
 LEGAL SEA FOODS, INC. and LEGAL SEA
 FOODS, LLC,

                            Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       Plaintiff filed the Complaint, invoking the Court’s diversity jurisdiction, on February 4,

2021 [ECF No. 1], and moved for default judgment on March 22, 2021 [ECF Nos. 10–14]. On

April 23, 2021, the Court denied Plaintiff’s motion for default judgment, dismissed the Complaint

without prejudice for failure to plead subject matter jurisdiction, and granted Plaintiff leave to

amend the Complaint. [ECF No. 15.] The Court ordered Plaintiff to file an Amended Complaint

on or before May 24, 2021, and warned that “[f]ailure to file an Amended Complaint by that date

will result in dismissal of all claims in this case without prejudice and without leave to amend.”

[Id. at 4.] To date, Plaintiff has not filed an Amended Complaint.

       Accordingly, IT IS HEREBY ORDERED that this action is DISMISSED WITHOUT

PREJUDICE and WITHOUT LEAVE TO AMEND for lack of subject matter jurisdiction. The

Clerk of Court is respectfully requested to close the case.



SO ORDERED.
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Date: August 9, 2021                                  MARY YKKAY   VYSKOCIL
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      New York, NY                                    United States
                                                             States District
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